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                 4                                   UNITED STATES DISTRICT COURT
                 5                                            DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:11-CR-48 JCM (CWH)
                 8                                              Plaintiff(s),                     ORDER
                 9              v.
               10        NANCY MAGENO,
               11                                             Defendant(s).
               12
               13              Presently before the court is the case of United States of America v. Nancy Mageno, case
               14       number 2:11-cr-00048-JCM-CWH-7.
               15              On June 8, 2015, the federal public defender filed a motion to appoint counsel for defendant
               16       for the purpose of determining whether defendant may qualify for a sentence reduction. (Doc. #
               17       369). On June 10, 2015, pursuant to the District of Nevada’s protocol for discretionary sentence
               18       reductions, the court entered an order appointing the federal public defender as counsel to represent
               19       the defendant. (Doc. # 370).
               20              On August 4, 2015, the parties filed a joint stipulation for sentence reduction pursuant to
               21       18 U.S.C. § 3582(c)(2). (Doc. # 380). The parties have reached an agreement concerning a
               22       discretionary sentence reduction.
               23              Included in the joint stipulation is a declaration from the defendant consenting to the entry
               24       of an amended sentence and setting forth the appropriate waivers. (Doc. #380-1). The joint
               25       stipulation also contains a certification by defense counsel that counsel has communicated with
               26       the defendant and that the defendant consents to the proposed resolution. Finally, the joint
               27       stipulation sets forth the amended guidelines sentencing range as calculated by the parties and an
               28       agreement to a particular sentence.

James C. Mahan
U.S. District Judge
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                1            Accordingly,
                2            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Nancy
                3     Mageno be, and the same hereby is, GRANTED a sentence reduction pursuant to 18 U.S.C. §
                4     3582(c)(2).
                5            IT IS FURTHER ORDERED that defendant’s sentence of imprisonment is reduced to 78
                6     months’ imprisonment. All other provisions of the judgment dated September 12, 2012, are to
                7     remain in effect. The effective date of defendant’s sentence reduction shall be November 1, 2015.
                8            DATED August 10, 2015.
                9                                                 __________________________________________
                                                                  UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
